USCA4 Appeal: 23-2194   Doc: 88    Filed: 05/20/2024   Pg: 1 of 47




                                     No. 23-2194

                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                                     GENBIOPRO, INC.,
                                                      Plaintiff-Appellant,
                                             v.
                     KRISTINA D. RAYNES, in her official capacity as
            Prosecuting Attorney of Putnam County, AND PATRICK MORRISEY,
              in his official capacity as Attorney General of West Virginia,
                                                      Defendants-Appellees.
                    On Appeal from the United States District Court
                for the Southern District of West Virginia (Huntington),
                      No. 3:23-cv-00058, Hon. Robert C. Chambers

                    REPLY BRIEF OF PLAINTIFF-APPELLANT
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USCA4 Appeal: 23-2194         Doc: 88           Filed: 05/20/2024         Pg: 2 of 47




                                         TABLE OF CONTENTS

                                                                                                          Page

        TABLE OF AUTHORITIES ...................................................................... iv

        INTRODUCTION ....................................................................................... 1

        ARGUMENT ............................................................................................... 3

        I.      CONGRESS PREEMPTED WEST VIRGINIA’S
                RESTRICTIONS ON MIFEPRISTONE........................................... 3

                        Congress Occupied The Limited Field Of Regulating
                        Drugs With Safe-Use Elements ............................................... 5

                        1.      The FDAAA imposes comprehensive regulation in
                                an area with a dominant federal interest ...................... 6

                        2.      West Virginia regulates access to mifepristone ............ 9

                        3.      Appellees’ remaining field preemption arguments
                                are unavailing ............................................................... 11

                        The UCPA Conflicts With The FDAAA And FDA’s
                        Determinations....................................................................... 13

                        1.      The UCPA makes it impossible to provide
                                mifepristone in accordance with the REMS ................ 13

                        2.      West Virginia’s restrictions interfere with
                                Congress’s determinations ........................................... 17

                        Appellees’ Remaining Preemption Arguments Fail ............. 21

                        1.      No presumption applies ................................................ 21

                        2.      The major questions doctrine is not implicated
                                because Congress delegated mifepristone’s
                                regulation to FDA ......................................................... 22




                                                           ii
USCA4 Appeal: 23-2194        Doc: 88            Filed: 05/20/2024          Pg: 3 of 47




                       West Virginia’s Counseling And Waiting Period
                       Requirements Are Preempted ............................................... 24

        II.    GENBIOPRO HAS STANDING AND A CAUSE OF ACTION .... 27

                       GenBioPro Plausibly Alleged Standing ................................ 27

                       1.      GenBioPro plausibly alleged economic injury ............. 27

                       2.      GenBioPro plausibly alleged a credible threat of
                               prosecution .................................................................... 30

                       3.      GenBioPro plausibly alleged third-party standing ..... 31

                       Appellees Forfeited Their Cause-Of-Action Defense,
                       Which Lacks Merit ................................................................. 32

                       1.      Appellees forfeited any cause-of-action defense .......... 32

                       2.      Ex parte Young provides a cause of action in
                               equity ............................................................................. 33

        CONCLUSION ......................................................................................... 35

        CERTIFICATE OF COMPLIANCE ........................................................ 37

        CERTIFICATE OF SERVICE.................................................................. 38




                                                           iii
USCA4 Appeal: 23-2194        Doc: 88           Filed: 05/20/2024        Pg: 4 of 47




                                      TABLE OF AUTHORITIES

                                                                                                        Page

        CASES

        303 Creative LLC v. Elenis,
             6 F.4th 1160 (10th Cir. 2021).......................................................... 28

        Air Courier Conf. of Am. v. American Postal Workers Union, AFL-
             CIO, 498 U.S. 517 (1991) ................................................................ 32

        Alabama Ass’n of Realtors v. DHS,
             594 U.S. 758 (2021) ......................................................................... 23

        Altria Group, Inc. v. Good,
              555 U.S. 70 (2008) ........................................................................... 22

        Amgen Inc. v. Sandoz Inc.,
            877 F.3d 1315 (Fed. Cir. 2017) ....................................................... 21

        Antrican v. Odom,
             290 F.3d 178 (4th Cir. 2002) ........................................................... 34

        Arizona v. United States,
             567 U.S. 387 (2012) ........................................................................... 5

        Armstrong v. Exceptional Child Ctr., Inc.,
            575 U.S. 320 (2015) ................................................................... 34, 35

        Associated Indem. Corp. v. Fairchild Indus., Inc.,
             961 F.2d 32 (2d Cir. 1992) ............................................................... 26

        Bell v. Blue Cross & Blue Shield of Okla.,
              823 F.3d 1198 (8th Cir. 2016) ......................................................... 21

        Bryant v. Stein,
             2024 WL 1886907 (M.D.N.C. Apr. 30, 2024) ............................ 12, 20

        California v. Texas,
              593 U.S. 659 (2021) ......................................................................... 26



                                                          iv
USCA4 Appeal: 23-2194        Doc: 88           Filed: 05/20/2024        Pg: 5 of 47




        Crosby v. National Foreign Trade Council,
             530 U.S. 363 (2000) ......................................................................... 13

        Ex parte Young,
             209 U.S. 123 (1908) ......................................................................... 33

        Ezell v. City of Chi.,
              651 F.3d 684 (7th Cir. 2011) ........................................................... 28

        Farina v. Nokia Inc.,
             625 F.3d 97 (3d Cir. 2010) ................................................................. 5

        Franks v. Ross,
            313 F.3d 184 (4th Cir. 2002) ........................................................... 34

        Gade v. National Solid Wastes Mgmt. Ass’n,
             505 U.S. 88 (1992) ......................................................................... 5, 6

        Gonzales v. Oregon,
            546 U.S. 243 (2006) ..................................................................... 6, 12

        Hicks v. Ferreyra,
             965 F.3d 302 (4th Cir. 2020) ..................................................... 32, 33

        Hillman v. Maretta,
             569 U.S. 483 (2013) ......................................................................... 20

        Hughes v. Talen Energy Mktg., LLC,
            578 U.S. 150 (2016) ........................................................................... 8

        International Paper Co. v. Ouellette,
              479 U.S. 481 (1987) ......................................................................... 20

        Khoja v. Orexigen Therapeutics, Inc.,
             899 F.3d 988 (9th Cir. 2018) ........................................................... 15

        King v. Rubenstein,
             825 F.3d 206 (4th Cir. 2016) ........................................................... 27

        Maryland Shall Issue, Inc. v. Hogan,
            971 F.3d 199 (4th Cir. 2020) ......................................... 27, 28, 31, 32



                                                          v
USCA4 Appeal: 23-2194        Doc: 88           Filed: 05/20/2024        Pg: 6 of 47




        Mutual Pharm. Co. v. Bartlett,
            570 U.S. 472 (2013) ......................................................................... 16

        National Ass’n of Home Builders v. Defenders of Wildlife,
             551 U.S. 644 (2007) ................................................................... 18, 19

        National Meat Ass’n v. Harris,
             565 U.S. 452 (2012) ......................................................................... 10

        Planned Parenthood of Se. Pa. v. Casey,
             505 U.S. 833 (1992) ......................................................................... 26

        PPL EnergyPlus, LLC v. Nazarian,
            753 F.3d 467 (4th Cir. 2014) ............................................................. 7

        Ramah Navajo Sch. Bd., Inc. v. Bureau of Revenue of N.M.,
            458 U.S. 832 (1982) ........................................................................... 6

        Ray v. Atlantic Richfield Co.,
             435 U.S. 151 (1978) ................................................................. 5, 8, 16

        Remy Holdings Int’l, LLC v. Fisher Auto Parts, Inc.,
            90 F.4th 217 (4th Cir. 2024)............................................................ 32

        Rice v. Santa Fe Elevator Co.,
              331 U.S. 218 (1947) ......................................................................... 22

        Roe v. Wade,
             410 U.S. 113 (1973) ......................................................................... 22

        Susan B. Anthony List v. Driehaus,
            573 U.S. 149 (2014) ................................................................... 27, 30

        Under Seal, In re,
            749 F.3d 276 (4th Cir. 2014) ........................................................... 33

        United States v. Locke,
             529 U.S. 89 (2000) ................................................................. 5, 16, 21

        United States v. South Carolina,
             720 F.3d 518 (4th Cir. 2013) ........................................................... 34



                                                         vi
USCA4 Appeal: 23-2194         Doc: 88             Filed: 05/20/2024          Pg: 7 of 47




        Utility Air Regulatory Group v. EPA,
              573 U.S. 302 (2014) ......................................................................... 23

        Verizon Md. Inc. v. Public Serv. Comm’n,
             535 U.S. 635 (2002) ......................................................................... 34

        Virginia Uranium, Inc. v. Warren,
             139 S. Ct. 1894 (2019) ............................................................... 10, 11

        Wikimedia Found. v. NSA,
            857 F.3d 193 (4th Cir. 2017) ........................................................... 27

        Williams v. Kincaid,
              45 F.4th 759 (4th Cir. 2022)............................................................ 33

        Wos v. E.M.A. ex rel. Johnson,
             568 U.S. 627 (2013) ......................................................................... 10

        Wyeth v. Levine,
             555 U.S. 555 (2009) ......................................................................... 12

        CONSTITUTION AND STATUTES

        U.S. Const. art. VI, cl. 2 (Supremacy Clause) ......................... 2, 30, 34, 35

        Controlled Substances Act, 21 U.S.C. § 801 et seq. ................................. 12

        Food and Drug Administration Amendments Act of 2007,
             Pub. L. No. 110-85, 121 Stat. 823:

               pmbl., 121 Stat. at 823 .................................................................... 17

               § 909(b)(1), 121 Stat. at 950-51 ....................................................... 18

        Pure Food and Drugs Act, Pub. L. No. 59-384, 34 Stat. 768 (1906) ....... 11

        21 U.S.C.:

               § 355-1 et seq. ..................................................................................... 1

               § 355-1 .......................................................................................... 6, 18

               § 355-1(a) ............................................................................................ 6


                                                             vii
USCA4 Appeal: 23-2194        Doc: 88             Filed: 05/20/2024           Pg: 8 of 47




              § 355-1(c) ............................................................................................ 6

              § 355-1(e) ............................................................................................ 6

              § 355-1(f) .................................................................................. 6, 7, 19

              § 355-1(f)(1) ........................................................................................ 8

              § 355-1(f)(2) ........................................................................................ 7

              § 355-1(f)(2)(C) ................................................................................... 8

              § 355-1(f)(2)(C)-(D) .......................................................................... 12

              § 355-1(f)(2)(D)................................................................................... 9

              § 355-1(f)(3)(A)-(B)............................................................................. 9

              § 355-1(f)(5) ...................................................................................... 20

              § 355-1(f)(5)(B) ................................................................................. 18

        W. Va. Code:

              § 2-2-10(a)(9) .................................................................................... 15

              § 15-5-3.2 .......................................................................................... 30

              § 16-2I-2 ........................................................................................... 24

              § 16-2I-2(a)(4)(A) .............................................................................. 25

              § 16-2R-1 et seq. ................................................................................. 9

              § 16-2R-2 .................................................................................... 10, 14

              § 16-2R-3 .......................................................................................... 17

              § 16-2R-7 .......................................................................................... 14

              § 16-2R-9 .......................................................................................... 26

              § 61-2-8 ............................................................................................... 9



                                                            viii
USCA4 Appeal: 23-2194         Doc: 88            Filed: 05/20/2024         Pg: 9 of 47




                § 61-2-8(a) ............................................................................ 14, 15, 17

        OTHER AUTHORITIES

        Risk Evaluation and Mitigation Strategies (REMS):

                REMS Single Shared System for Mifepristone 200 mg, FDA
                   (Mar. 2023), https://www.accessdata.fda.
                   gov/drugsatfda_docs/rems/Mifepristone_2023_03_23_
                   REMS_Full.pdf ................................................... 5, 9, 10, 24, 29

                Ambrisentan Shared System REMS Program, FDA (June
                    2021), https://www.accessdata.fda.gov/drugsatfda
                    _docs/rems/Ambrisentan_Shared_System_2021_06_08_
                    REMS_Full.pdf ......................................................................... 7

                Isotretinoin (iPLEDGE®) Shared System REMS Program,
                      FDA (Oct. 2023), https://www.accessdata.fda.gov/
                      drugsatfda_docs/rems/Isotretinoin_2023_10_03_REMS
                      _Full.pdf .............................................................................. 7, 25

                Lenalidomide REMS Program, FDA (Mar. 2023),
                     https://www.accessdata.fda.gov/drugsatfda_docs/rems/
                     Lenalidomide_2023_03_24_REMS_Full.pdf ........................... 7

        Letter from Ctr. for Drug Evaluation & Rsch., FDA, to S. Arnold,
             Vice President, Population Council (Sept. 28, 2000),
             https://www.accessdata.fda.gov/drugsatfda_docs/
             appletter/2000/20687appltr.pdf ...................................................... 13

        Whether the Food and Drug Administration Has Jurisdiction over
            Articles Intended for Use in Lawful Executions, 43 Op.
            O.L.C., slip. op. (2019), https://www.justice.gov/olc/opinion/
            file/1162686/dl ................................................................................. 17




                                                            ix
USCA4 Appeal: 23-2194   Doc: 88       Filed: 05/20/2024   Pg: 10 of 47




                                   INTRODUCTION

              In 2007, Congress decided that a small category of drugs could be

        made accessible to patients safely, so long as FDA authoritatively

        determined the standards for access. This case concerns that federal

        regime, codified in the FDAAA. See 21 U.S.C. 355-1 et seq.

              The statute authorizes FDA to control these drugs’ prescription

        and dispensing by imposing safe-use elements. It leaves no room for

        states to regulate drugs approved with such elements. Under the

        FDAAA, FDA must weigh the burdens any necessary safety restrictions

        impose on patients’ access to these drugs, and it must minimize burdens

        on the healthcare system. Congress requires the agency to update and

        reevaluate its restrictions regularly. But FDA cannot fulfill this

        mandate if it must act against an ever-changing array of state

        restrictions on such drugs.

              West Virginia imposes a near-total ban on patients’ access to one

        of the drugs FDA regulates with safe-use elements: mifepristone. FDA

        approved mifepristone only for abortion, but West Virginia prohibits

        virtually all abortions and imposes criminal penalties on healthcare

        professionals who provide the drug for that purpose.



                                               1
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 11 of 47




              The challenged laws are preempted. They intrude on a field

        Congress reserved for FDA and make it impossible for GenBioPro to

        provide mifepristone in accordance with FDA’s specifications. And they

        undermine Congress’s goal of imposing only those burdens on access to

        mifepristone that FDA determines are necessary for its safe use.

              Appellees do not engage with Congress’s detailed commands in the

        FDAAA. Instead, they frame this case as a challenge to states’ historic

        power to protect their citizens’ health. But the state statutes in

        question are not general health regulations. In prohibiting nearly all

        abortions, they functionally ban mifepristone for its sole FDA-approved

        use. The laws interfere with FDA’s regulation of mifepristone and with

        Congress’s mandate that FDA alone weigh the burdens any restrictions

        impose on patients and healthcare providers.

              Appellees alternately protest that West Virginia’s laws do not

        regulate mifepristone and that, because mifepristone is indicated for

        abortion, it should be treated differently from other drugs. But West

        Virginia expressly restricts medications used for abortion, and FDA

        approved only one drug for that purpose. Neither the Supremacy

        Clause nor the FDAAA contains an exception for abortion.



                                             2
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 12 of 47




              Drugs with safe-use elements are a creature of federal law,

        regulated at the federal level. In arguing otherwise, Appellees

        egregiously mischaracterize history and the FDAAA. States never

        approved drugs or banned drugs for their federally approved uses, much

        less drugs with safe-use elements.

              The district court properly upheld GenBioPro’s standing. West

        Virginia’s unconstitutional restrictions prevent GenBioPro from selling

        mifepristone in the State and restrict providers’ ability to prescribe and

        dispense it. GenBioPro has a cause of action in equity to remedy that

        injury, and Appellees have forfeited any argument otherwise.

                                      ARGUMENT

        I.    CONGRESS PREEMPTED WEST VIRGINIA’S
              RESTRICTIONS ON MIFEPRISTONE

              The FDAAA preempts West Virginia’s restrictions on

        mifepristone. First, it occupies the narrow field of regulating drugs

        with safe-use elements, a category that includes mifepristone. Congress

        gave FDA granular instructions regarding how to balance access and

        burden considerations and listed the factors the agency must consider

        in doing so. By delegating authority to FDA to determine appropriate




                                             3
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 13 of 47




        restrictions on these medications, Congress signaled a dominant federal

        interest and a desire for national uniformity in their regulation.

              A patchwork of varying state restrictions like West Virginia’s

        prevents FDA from engaging in the balancing Congress demands and

        renders the FDAAA’s goal of creating national uniformity all but

        meaningless. The statute’s text recognizes Congress’s intent that drugs

        with safe-use elements be accessible to patients, subject to FDA’s

        judgment reconciling safety needs with burdens on patients’ access and

        the national healthcare delivery system.

              Second, West Virginia’s restrictions on mifepristone conflict with

        those FDA implemented. They make it impossible for GenBioPro to sell

        its product in the State and penalize GenBioPro’s customers for

        providing mifepristone in accordance with its REMS.

              The restrictions also undermine Congress’s goals in the FDAAA.

        Congress codified, and authorized FDA to implement, national criteria

        in determining when patients can access drugs with safe-use elements.

        FDA made the required determinations for mifepristone, reflected in




                                             4
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 14 of 47




        the 2023 Mifepristone REMS.1 West Virginia’s restrictions conflict with

        the REMS by limiting access to mifepristone, when FDA has concluded

        it should be accessible and has eased restrictions on the drug.

                   Congress Occupied The Limited Field Of Regulating
                   Drugs With Safe-Use Elements

              Congress’s “intent to displace state law altogether can be inferred”

        either (1) from a framework of regulation so pervasive that Congress

        left no room for the States to supplement it or” (2) when the regulatory

        field concerns a dominant federal interest. Arizona v. United States,

        567 U.S. 387, 399 (2012); accord Ray v. Atlantic Richfield Co., 435 U.S.

        151, 161, 163 (1978). The preempted field can be vast (e.g.,

        immigration) or narrow (e.g., safety standards for workers handling

        hazardous waste). Compare Arizona, 567 U.S. at 400, with Gade v.

        National Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992).2




              1 REMS Single Shared System for Mifepristone 200 mg at 1, FDA

        (Mar. 2023) (“2023 Mifepristone REMS”), https://www.accessdata.fda.
        gov/drugsatfda_docs/rems/Mifepristone_2023_03_23_REMS_Full.pdf.
              2 Congress may define “the scope of a field deemed preempted by

        federal law . . . narrowly.” Farina v. Nokia Inc., 625 F.3d 97, 121 n.25
        (3d Cir. 2010); see also Opening Br. 53-55 (citing examples). Appellees
        ignore the key Supreme Court case finding preemption of narrow fields,
        United States v. Locke, 529 U.S. 89 (2000).

                                             5
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 15 of 47




              As relevant here, within the broad arena of “regulati[ng] . . .

        health and safety,” “the Federal Government can set uniform national

        standards” in specific areas that preempt state law. Gonzales v.

        Oregon, 546 U.S. 243, 270-71 (2006); see, e.g., Gade, 505 U.S. at 108

        (occupational health and safety).

                   1.    The FDAAA imposes comprehensive regulation
                         in an area with a dominant federal interest

              a.   In enacting a “comprehensive . . . scheme of federal

        regulation” for drugs that cannot be approved without safe-use

        elements, Congress occupied a limited field. Ramah Navajo Sch. Bd.,

        Inc. v. Bureau of Revenue of N.M., 458 U.S. 832, 836 (1982). The

        FDAAA vested FDA with exclusive authority to regulate these drugs

        and specified the relevant considerations for FDA to assess. See

        generally 21 U.S.C. § 355-1. Congress authorized FDA alone to

        determine the elements required to assure these drugs’ safe use while

        minimizing specified burdens.

              The FDAAA delineates which FDA personnel must decide

        whether a REMS with safe-use elements is necessary, the factors FDA

        must consider in imposing one, components it may include, and how

        often the agency must reevaluate it. Id. § 355-1(a), (c), (e), (f). After


                                              6
USCA4 Appeal: 23-2194       Doc: 88   Filed: 05/20/2024   Pg: 16 of 47




        determining safe-use elements are warranted, FDA dictates who can

        prescribe the drug and how, which patients can receive it, where and

        how it is dispensed, and how patients take it. Id. § 355-1(f). FDA may,

        for example, require patients to obtain lab results or complete

        questionnaires before receiving the drug,3 limit the permissible dosage,4

        specify how and in what quantities pharmacies may dispense,5 and

        instruct patients how to dispose of unused medication.6

              Congress requires FDA to balance any safety restrictions against

        burdens on patient access and the healthcare delivery system. Id.

        § 355-1(f)(2). As with other schemes calibrated to protect “competing

        interests,” the FDAAA preempts the field of regulating drugs with safe-

        use elements. PPL EnergyPlus, LLC v. Nazarian, 753 F.3d 467, 473,



              3 Ambrisentan Shared System REMS Program at 3-4, FDA (June

        2021), https://www.accessdata.fda.gov/drugsatfda_docs/rems/
        Ambrisentan_Shared_System_2021_06_08_REMS_Full.pdf; Isotretinoin
        (iPLEDGE®) Shared System REMS Program at 2-3, FDA (Oct. 2023),
        (“Isotretinoin REMS”), https://www.accessdata.fda.gov/drugsatfda_docs/
        rems/Isotretinoin_2023_10_03_REMS_Full.pdf.
              4 Lenalidomide REMS Program at 2-3, 8, FDA (Mar. 2023), https

        ://www.accessdata.fda.gov/drugsatfda_docs/rems/Lenalidomide_2023_03
        _24_REMS_Full.pdf.
              5 Id. at 2-3, 7-8, 137-39.

              6 Id. at 4.



                                               7
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 17 of 47




        475-76 (4th Cir. 2014), aff’d sub nom. Hughes v. Talen Energy Mktg.,

        LLC, 578 U.S. 150, 136 (2016); see id. at 473 (finding preemption

        warranted when Congress enacted “comprehensive program of

        regulation . . . quite sensitive to external tampering”). Such regimes

        leave “no room either for direct state regulation” or indirect rules that

        “achieve the same result.” Id. at 475.

              b.   Congress signals a dominant federal interest when it vests

        “exclusive [regulatory] authority” in a federal agency to create “uniform

        national standards” governing a field. Ray, 435 U.S. at 159, 163. In

        the FDAAA, Congress conveyed a dominant federal interest in assuring

        that nationwide, uniform rules govern patients’ access to drugs with

        safe-use elements.

              Congress directed FDA to apply specific criteria and “balance a

        number of considerations” in crafting safe-use elements. Id. at 177; see

        21 U.S.C. § 355-1(f)(1). These criteria implicate national concerns,

        applicable across state lines: FDA must consider patients “with serious

        or life-threatening diseases or conditions,” “in rural or medically

        underserved areas,” and “with functional limitations.” 21 U.S.C. § 355-

        1(f)(2)(C). It must reduce burdens on the “health care delivery system.”



                                              8
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 18 of 47




        Id. § 355-1(f)(2)(D). And it must determine whether providers and

        pharmacies prescribing and dispensing the drug must be specially

        trained or certified nationwide. Id. § 355-1(f)(3)(A)-(B).

              To make this balancing possible, the FDAAA federalizes areas

        “normally left to the discretion of the medical community.” Amicus Br.

        of Doctors for Am. at 8, Dkt. 33-1. This enables FDA to ensure safe-use

        elements do not unduly burden patient access or the healthcare delivery

        system. See id. at 5 (describing burdens on medical profession).

              FDA made these determinations for mifepristone. The resulting

        REMS requires providers and pharmacies to be specially certified and

        agree to prescribe or dispense mifepristone in “compliance with the

        Mifepristone REMS.”7 See Opening Br. 12-14.

                   2.    West Virginia regulates access to mifepristone

              The UCPA seeks to dictate how and to whom mifepristone may be

        prescribed and dispensed. W. Va. Code §§ 16-2R-1 et seq., 61-2-8. It

        substitutes West Virginia’s judgment for FDA’s and intrudes on a field

        necessitating national uniformity.




              7 2023 Mifepristone REMS, supra note 1, at 8.



                                              9
USCA4 Appeal: 23-2194   Doc: 88       Filed: 05/20/2024   Pg: 19 of 47




              Appellees argue (at 29) that the UCPA regulates abortion, not

        mifepristone, and therefore implicates a different field. But “[p]re-

        emption is not a matter of semantics”; it concerns a law’s “operation and

        effect,” regardless of its title or the state’s characterization in litigation.

        Wos v. E.M.A. ex rel. Johnson, 568 U.S. 627, 636 (2013); see also

        National Meat Ass’n v. Harris, 565 U.S. 452, 464 (2012) (a state cannot

        “escape preemption” by “framing” its law to regulate what federal law

        does not).

              Abortion is the only approved indication for mifepristone, the only

        drug FDA approved to terminate pregnancy.8 In banning almost all

        abortions, the UCPA functionally bans mifepristone’s use and sale.

        Despite Appellees’ suggestion (at 30) that the UCPA “does not mention

        mifepristone,” the UCPA defines abortion as “the use of any . . .

        medicine, drug, or any other substance . . . with intent to terminate . . .

        pregnancy.” W. Va. Code § 16-2R-2. Mifepristone fits that bill.

              Appellees argue (at 29-30) that the UCPA is a permissible

        “upstream” regulation, citing Virginia Uranium, Inc. v. Warren, 139 S.

        Ct. 1894, 1914-15 (2019) (Ginsburg, J., concurring in the judgment). In


              8 2023 Mifepristone REMS, supra note 1, at 1.



                                              10
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 20 of 47




        Virginia Uranium, Congress occupied the field of uranium milling (how

        uranium is refined), but not the field of uranium mining (how it is

        extracted). Id. at 1910; see id. at 1900 (plurality op. of Gorsuch, J.)

        (same). The state law concerned only mining, not milling, so it was not

        preempted. Id. at 1901-02 (noting federal law regulates “nearly every

        aspect of the nuclear fuel life cycle except mining”).

              Here, federal and state law regulate the same subject: access to

        mifepristone. Unlike uranium mining, this is not an area Congress

        “chose to leave alone.” Id. at 1900. In the FDAAA, Congress authorized

        FDA to regulate every step of mifepristone’s use.

                   3.    Appellees’ remaining field preemption
                         arguments are unavailing

              a.   Appellees contort history in arguing (at 31-32) that

        regulating safe-use drugs is not an area of historical federal concern, so

        “traditional state laws” regulating health and medicine prevail. That

        erroneous contention ignores the federal government’s role in deciding

        which drugs to approve for more than a century. Amicus Br. of

        Historians at 3-4, Dkt. 55; see Pure Food and Drugs Act, Pub. L. No. 59-

        384, 34 Stat. 768 (1906) (repealed 1938).




                                             11
USCA4 Appeal: 23-2194     Doc: 88    Filed: 05/20/2024   Pg: 21 of 47




              States neither approve drugs nor restrict drugs’ prescribing or

        dispensing for their FDA-approved uses, outside of controlled

        substances. And state tort remedies, which Appellees cite (at 32), must

        parallel federal misbranding standards in providing “appropriate relief

        for injured consumers.” Wyeth v. Levine, 555 U.S. 555, 574 (2009).

              Appellees’ reference (at 34) to state opioid regulations is

        inapposite. Opioids are subject to the Controlled Substances Act, 21

        U.S.C. §§ 801-904, which sets legal rules not at issue here. See

        Gonzales, 546 U.S. at 270. Appellees argue that states may restrict

        access to drugs with safe-use elements because they are “the most high-

        risk.” But Congress disagreed and determined that FDA alone should

        evaluate, monitor, and regulate these drugs. See 21 U.S.C. § 355-

        1(f)(2)(C)-(D).

              b.    Appellees argue (at 32-33) that the savings clause in the

        FDCA’s 1962 amendments defeats preemption. But “that savings

        clause applied by its terms only to the 1962 amendments.” Bryant v.

        Stein, 2024 WL 1886907, at *19 (M.D.N.C. Apr. 30, 2024). Congress did

        not apply the 1962 savings clause to the 2007 FDAAA, which has no

        savings clause. Even if the 1962 savings clause applied, it would



                                             12
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 22 of 47




        merely preserve state tort remedies with respect to drugs approved with

        safe-use elements.9

                   The UCPA Conflicts With The FDAAA And FDA’s
                   Determinations

              A state statute that “conflict[s] with a federal statute” is

        preempted. Crosby v. National Foreign Trade Council, 530 U.S. 363,

        372 (2000). As Congress required, FDA regulates mifepristone with

        safe-use elements specifying how patients may receive the drug and

        how healthcare professionals may prescribe and dispense it. See

        Opening Br. 30. The UCPA strikes a different balance, functionally

        banning the drug.

                   1.    The UCPA makes it impossible to provide
                         mifepristone in accordance with the REMS

              While FDA approved prescribing mifepristone through 70 days’

        gestation, the UCPA forbids that. JA318 (¶ 70). Healthcare



              9 Appellees’ amici suggest, incorrectly, that mifepristone was

        approved with a “voluntary” safety protocol. Amicus Br. of Family
        Rsch. Council et al. at 11-12, Dkt. 67-1. GenBioPro’s mifepristone has
        been subject to a REMS since its approval, and FDA approved branded
        mifepristone subject to Subpart H’s mandatory safety requirements.
        Opening Br. 12; JA310 (¶ 39); Letter from Ctr. for Drug Evaluation &
        Rsch., FDA, to S. Arnold, Vice President, Population Council at 1 (Sept.
        28, 2000), https://www.accessdata.fda.gov/drugsatfda_docs/
        appletter/2000/20687appltr.pdf.

                                             13
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 23 of 47




        professionals who comply with mifepristone’s REMS when prescribing

        or dispensing the drug to patients but act outside the UCPA’s limited

        exceptions violate state law.

              a.   Appellees argue (at 15, 35-36) that the UCPA does not

        regulate GenBioPro or apply “to the commercial distribution of

        mifepristone in West Virginia.” But the statute regulates any person

        who performs or attempts to induce an abortion in the State. W. Va.

        Code § 16-2R-2. It regulates “licensed medical professional[s],” who face

        penalties for violating the statute by prescribing GenBioPro’s

        medication. Id. §§ 16-2R-7, 61-2-8(a); see GenBioPro’s Opp. to Sorsaia’s

        Mot. to Dismiss at 11, (S.D. W. Va. Mar. 7, 2023), Dkt. 31. And its

        vague definition of “[a]ttempt to perform” an abortion includes “an act

        or the omission of an act that, under the circumstances as the person so

        acting or omitting to act believes them to be, constitutes a substantial

        step in a course of conduct intended to culminate in an abortion.”10

        W. Va. Code § 16-2R-2. Any “person,” including a corporation, that

        “attempts to perform or induce an abortion,” as the UCPA defines it,



              10 Contrary to Appellees’ assertion (at 35-36), GenBioPro made

        this argument before the district court. See JA133-134.

                                            14
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 24 of 47




        commits a felony. Id. § 61-2-8(a); see id. § 2-2-10(a)(9); JA318-319 (¶ 71).

        Each time GenBioPro provides mifepristone, it takes a step aimed at

        providing abortion care.11

              Appellees have stated publicly that they intend to enforce the

        State’s abortion laws. JA115, JA305-306 (¶¶ 24-25). They now graft

        onto the statute a requirement that GenBioPro know whether its

        product will be used in an “illegal” abortion. Opp. 36. But the law

        criminalizes any person other than a “licensed medical professional

        . . . who knowingly and willfully . . . attempts to perform or induce an

        abortion,” whether or not the abortion is legal. W. Va. Code § 61-2-8(a);

        see Opening Br. 40-41 & n.27.

              b.   Appellees’ claim (at 36-37) that this case concerns whether

        the FDAAA mandates access to mifepristone is misplaced. The FDAAA



              11 Appellees argue (at 38) that GenBioPro’s drug can be prescribed

        for Cushing’s Syndrome or uterine leiomyomas, but GenBioPro’s
        product is not approved for either. See GenBioPro’s Opp. to Morrisey’s
        Mot. to Dismiss at 16 & n.10, (S.D. W. Va. Mar. 17, 2023), Dkt. 35.
        Korlym, approved for Cushing’s Syndrome, is a different drug, not
        subject to a REMS. Id. Appellees’ argument illustrates the danger
        posed by “the unscrupulous use of extrinsic [evidence] to resolve
        competing theories against the complaint.” Khoja v. Orexigen
        Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018). On a motion to
        dismiss, all inferences should be drawn in GenBioPro’s favor.

                                             15
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 25 of 47




        does not mandate unlimited access to any drug; rather, it delegates to

        FDA sole authority to determine whether and how patients access

        certain drugs. This is analogous to the federal Ports and Waterways

        Safety Act in Locke, in which Congress delegated to the Coast Guard

        authority to “promulgate[] its own requirement[s]” regulating oil

        tankers or “decide[] that no such requirement should be imposed at all.”

        529 U.S. at 110; see Ray, 435 U.S. at 177-78. When the Coast Guard

        required just two watchkeepers on tankers, Washington’s “different

        rule[]” requiring more was preempted. Locke, 529 U.S. at 114.

              Next, Appellees argue (at 37-39) that no conflict exists because

        federal law does not require GenBioPro to sell mifepristone, and State

        law does not forbid it. The Supreme Court rejected the argument that a

        manufacturer’s ability to “simply leav[e] the market” insulates a state

        law from impossibility preemption. Mutual Pharm. Co. v. Bartlett, 570

        U.S. 472, 489 (2013). When GenBioPro markets mifepristone, it must

        do so under FDA’s balancing determinations in the REMS. The UCPA

        forbids that by outlawing mifepristone’s provision for its approved use.

        Supra pp. 9-11. If GenBioPro tries to market mifepristone in West




                                            16
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 26 of 47




        Virginia, state law prohibits healthcare providers and pharmacies from

        providing it in almost all cases. W. Va. Code §§ 16-2R-3, 61-2-8(a).

              Without citation, Appellees argue (at 38) that Bartlett does not

        apply if a manufacturer has “not even started selling” in the state. But

        GenBioPro sells mifepristone nationwide. JA96. On a motion to

        dismiss, the Court must assume the facts most favorable to GenBioPro

        concerning its West Virginia sales. Supra n.11.

              Finally, Appellees’ analogy (at 38) to drugs “that may be used for

        lethal injection” is flawed. FDA cannot approve drugs for lethal

        injection.12 Contra Amicus Br. of Ctr for L. & Just. at 2-3, Dkt. 69.13

                   2.    West Virginia’s restrictions interfere with
                         Congress’s determinations

              The FDAAA was a groundbreaking law that “enhance[d]” FDA’s

        “postmarket authorit[y]” to ensure access to drugs that might be

        associated with adverse events. FDAAA pmbl., 121 Stat. at 823. When

        it “deemed” mifepristone to have a REMS, Congress delegated to FDA


              12 See generally Whether the Food and Drug Administration Has

        Jurisdiction over Articles Intended for Use in Lawful Executions, 43 Op.
        O.L.C., slip. op. (2019), https://www.justice.gov/olc/opinion/file/
        1162686/dl.
              13 This case does not implicate conscience rights or alleged “rights”

        of fetuses, as Appellees’ amici erroneously assert.

                                             17
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 27 of 47




        authority to impose safe-use elements and determine how patients may

        receive that drug. FDAAA § 909(b)(1), 121 Stat. at 950-51, reprinted at

        21 U.S.C. § 331 note.

              The UCPA undermines Congress’s goal of ensuring a uniform

        scheme governing access to safe-use drugs and its requirement that

        restrictions minimize burdens on access and the healthcare delivery

        system. 21 U.S.C. § 355-1(f)(2), (f)(5)(B). FDA cannot comply with

        Congress’s requirements against multiple, ever-changing state

        restrictions.

              a.    Appellees argue (at 40-41) that the FDAAA establishes a

        regulatory “floor,” not a ceiling. But section 355-1 vests FDA alone with

        authority to determine which patients may receive mifepristone,

        dictating where, when, and how. See supra pp. 6-8. Nothing in the

        FDAAA empowers states to countermand FDA’s determinations.

              Congress’s use of mandatory language in instructing an agency to

        act — employing specific criteria — establishes a regulatory ceiling as

        well as a floor. For example, in National Association of Home Builders

        v. Defenders of Wildlife, 551 U.S. 644, 650-51, 663-64 (2007), Congress

        instructed that the EPA “shall” authorize a state to issue certain



                                            18
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 28 of 47




        permits after completing nine statutory criteria, which “operate[d] as a

        ceiling as well as a floor” — each needed to be met. Id. at 663.

              Here, when FDA determines a drug to require a REMS, Congress

        specifies what FDA “shall” do, and when and how. 21 U.S.C. § 355-

        1(f)(2), (f)(5). The safe-use elements, like questionnaires to determine

        patient comprehension or prescriber knowledge and qualifications,

        impose a ceiling. Congress also mandated that FDA “shall . . . minimize

        the burden on the health care delivery system.” Id. Any additional

        burden exceeds the ceiling FDA must determine.

              Contrary to Appellees’ argument (at 41-44), the FDAAA regulates

        safety and access. It enables drugs that otherwise could not be

        approved to enter the market, subject to the minimum burdens on

        access FDA determines are “necessary” (for patient access) and

        “practicable” (for impacts on the nationwide healthcare delivery

        system). 21 U.S.C. § 355-1(f).

              b.   Instead of addressing the FDAAA’s regime for safe-use

        drugs, Appellees focus on other FDCA provisions. They mistakenly rely

        (at 41) on Congress’s decision to include in the FDCA an express

        preemption provision governing medical devices. Yet “the existence of a



                                            19
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 29 of 47




        separate preemption provision does not bar the ordinary working of

        conflict preemption principles.” Bryant, 2024 WL 1886907, at *19

        (quoting Hillman v. Maretta, 569 U.S. 483, 498 (2013)).

              Appellees argue (at 47) that it “makes no sense” for Congress to

        preempt “complementary” regulation only for drugs deemed to require

        safe-use elements. But to be approved, these drugs require federal post-

        market regulation, which FDA must re-evaluate periodically to ensure

        restrictions are not unduly burdensome. See 21 U.S.C. § 355-1(f)(5);

        Opening Br. 60-61. FDA cannot make the required determinations

        against an evolving array of state restrictions.

              Congress therefore directed FDA to make uniform determinations

        about safety and burden on patient access and on the healthcare

        delivery system on a nationwide basis. Accordingly, the district court

        and Appellees err in reading the FDAAA as limiting only FDA’s own

        restrictions. States’ restrictions are preempted because they interfere

        with the “complex decisions” Congress entrusted to FDA. International

        Paper Co. v. Ouellette, 479 U.S. 481, 494-95 (1987).

              In any event, the UCPA does not “complement[]” FDA’s

        regulations. Opp. 47. The UCPA “clash[es]” with mifepristone’s REMS,



                                             20
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 30 of 47




        regulating the drug differently than FDA mandated. Amgen Inc. v.

        Sandoz Inc., 877 F.3d 1315, 1329 (Fed. Cir. 2017).

                   Appellees’ Remaining Preemption Arguments Fail

                   1.    No presumption applies

              The district court erred in applying a presumption against

        preemption. The UCPA regulates in an arena that exists by virtue of

        federal law: access to drugs that cannot be approved without safe-use

        elements. Opening Br. 70-73. Appellees ignore Supreme Court

        precedent holding that no presumption applies in areas with “a history

        of significant federal presence,” implicating “considerable federal

        interest[s].” Locke, 529 U.S. at 94, 108.

              Appellees point to the history of state consumer protection

        lawsuits, but the cases they cite (at 31-32) concern state tort liability

        paralleling federal misbranding standards, not bans on medication. See

        supra p.12. Lacking precedent for state bans on safe-use drugs,

        Appellees point to states’ history of regulating “health and safety.”

        Opp. 31. But courts do not assess whether a dispute concerns “health

        care in general”; they ask whether it concerns matters “that arise from

        a federal law.” Bell v. Blue Cross & Blue Shield of Okla., 823 F.3d 1198,

        1201-02 (8th Cir. 2016).

                                             21
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 31 of 47




              Appellees’ assertion (at 27) that they may ban mifepristone

        because states criminalized abortion before Roe v. Wade, 410 U.S. 113

        (1973), is ahistorical. Pre-Roe state statutes “narrowly targeted fraud

        and adulteration” related to poisons and unapproved “patent

        medicines.” See Amicus Br. of Historians at 3-5.

              Appellees cite (at 31) Rice v. Santa Fe Elevator Co., 331 U.S. 218

        (1947), but that case supports GenBioPro. States historically set rates

        and regulated grain warehouses before federal law imposed a uniform

        regime precluding them from “supplement[ing]” federal regulations. Id.

        at 230-31, 236. And Altria Group, Inc. v. Good, 555 U.S. 70 (2008), is

        inapposite. It concerned whether states could continue to regulate

        fraudulent statements even though the federal Labeling Act preempted

        certain failure-to-warn claims related to advertising. Opp. 26. Altria

        provides no support for the notion that states may ban safe-use drugs,

        as opposed to providing remedial causes of action.

                   2.    The major questions doctrine is not implicated
                         because Congress delegated mifepristone’s
                         regulation to FDA

              The district court correctly held the major questions doctrine

        inapplicable because FDA “act[ed] narrowly pursuant to an explicit



                                            22
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 32 of 47




        grant of authority as to a single prescription medication — the FDAAA’s

        express command that the FDA promulgate a REMS for Subpart H-

        approved drugs (including mifepristone), subject to certain delineated

        principles, including ensuring accessibility.” JA262. Moreover, the

        court held that Congress “knew” mifepristone “was used only for

        medication abortion” and ordered FDA to regulate that drug. JA263.

              Appellees argue (at 28) that GenBioPro’s “theory of interpretation”

        “lack[s] … historical precedent.” But construing the FDAAA is a matter

        of statutory construction; interpreting the UCPA to negate

        congressional action is unprecedented.

              The cases on which Appellees rely (at 28) are inapposite. In

        Alabama Association of Realtors v. DHS, 594 U.S. 758 (2021) (per

        curiam), the agency had imposed a new moratorium on evictions,

        relying on a longstanding statute that had not been used for that

        purpose. By contrast, the FDAAA compels FDA to regulate

        mifepristone.

              Appellees cite (at 28) Utility Air Regulatory Group v. EPA,

        573 U.S. 302, 324 (2014), to assert that the FDAAA cannot preempt the

        UCPA if it “say[s] nothing about” abortion. But, as the district court



                                            23
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 33 of 47




        correctly reasoned: (1) “Congress did specify that drugs previously

        approved under Subpart H would be deemed in effect to have a REMS

        in the 2007 FDAAA”; (2) “[s]hortly thereafter, the FDA issued a notice

        indicating that mifepristone was one of these previously approved

        drugs”; and (3) FDA’s “list consisted of only 17 previously approved

        drugs and Congress undoubtedly knew that one, mifepristone, was used

        only for medication abortion.” JA263. The statute addresses abortion

        by empowering FDA to regulate a drug whose only indication is

        abortion.

                    West Virginia’s Counseling And Waiting Period
                    Requirements Are Preempted

              West Virginia’s counseling and waiting period requirements

        (which are separate from the UCPA) conflict with mifepristone’s safe-

        use elements. See W. Va. Code §16-2I-2. The REMS requires

        GenBioPro to certify healthcare providers, who must agree to review

        the REMS Patient Agreement Form with patients before prescribing

        the drug. This form specifies that patients understand they will take

        both “mifepristone and misoprostol to end [their] pregnancy.”14




              14 2023 Mifepristone REMS, supra note 1, at 10.



                                            24
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 34 of 47




              West Virginia requires providers to communicate the opposite:

        patients “shall be informed that” they need not take both drugs, as “it

        may be possible to counteract the intended effects of . . . mifepristone”

        by abstaining from misoprostol and taking “progesterone.” Id. § 16-2I-

        2(a)(4)(A). Appellees argue (at 48) that this requirement

        “complements” the REMS. But it requires doctors to tell patients

        information that contradicts the REMS, informing patients they may

        take only one drug in the two-drug regimen, when the Patient

        Agreement Form specifies patients understand they will take both.

        Appellees’ bald assertion (at 51) that the information in the UCPA

        informs women “of the ability to make life-saving choices” is

        unsupported.

              West Virginia’s waiting period also conflicts with the REMS. FDA

        chose not to impose a waiting period for mifepristone, as it has with

        other drugs.15 West Virginia’s decision to impose one improperly

        burdens access and the healthcare system.

              The Court should address the constitutionality of the waiting

        period and counseling requirements, which restricted GenBioPro’s


              15 E.g., Isotretinoin REMS, supra note 3, at 2.



                                             25
USCA4 Appeal: 23-2194      Doc: 88   Filed: 05/20/2024   Pg: 35 of 47




        market in West Virginia and remain part of the Code. W. Va. Code

        § 16-2R-9. The district court correctly held that GenBioPro “may

        challenge the[se] provisions which would spring back into enforceability

        if this Court were to find the UCPA unconstitutional.” JA110.

              Appellees cite (at 48) California v. Texas, 593 U.S. 659, 669-71

        (2021), to argue GenBioPro cannot challenge these restrictions, but that

        case involved a provision carrying a penalty of $0 with “no means of

        enforcement.” Here, invalidating the UCPA would revive the

        challenged restrictions, rendering jurisdiction proper. See Associated

        Indem. Corp. v. Fairchild Indus., Inc., 961 F.2d 32, 35 (2d Cir. 1992)

        (“That the liability may be contingent does not necessarily defeat

        jurisdiction . . . .”).

              Appellees cite (at 49) Planned Parenthood of Southeastern

        Pennsylvania v. Casey, 505 U.S. 833 (1992), but Casey is irrelevant to

        preemption. It predated the FDAAA, mifepristone’s approval, and

        FDA’s determination that no waiting period was appropriate for

        mifepristone under the statute’s burden and access balancing.




                                             26
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 36 of 47




        II.   GENBIOPRO HAS STANDING AND A CAUSE OF ACTION

                   GenBioPro Plausibly Alleged Standing

              At the motion-to-dismiss stage, a plaintiff must plausibly allege

        “(1) an injury in fact, (2) a sufficient causal connection between the

        injury and the conduct complained of, and (3) a likelihood that the

        injury will be redressed by a favorable decision.” Susan B. Anthony List

        v. Driehaus, 573 U.S. 149, 157-58 (2014) (cleaned up). A plaintiff whose

        standing has been challenged gets “the same procedural protection” as

        any other plaintiff opposing a motion to dismiss, Wikimedia Found. v.

        NSA, 857 F.3d 193, 208 (4th Cir. 2017), so the Court must “draw all

        reasonable inferences in favor of ” GenBioPro, King v. Rubenstein,

        825 F.3d 206, 212 (4th Cir. 2016).

                   1.    GenBioPro plausibly alleged economic injury

              GenBioPro plausibly alleged that West Virginia’s laws inflicted

        “financial harm,” the “classic and paradigmatic form of injury in fact.”

        Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199, 210 (4th Cir. 2020).

        GenBioPro worked for nearly a decade to gain FDA approval to market

        mifepristone and has used that license to sell approximately 850,000

        units nationwide. JA299-300, JA315, JA322 (¶¶ 2, 3, 60, 77). The

        UCPA “constricted the market for mifepristone statewide,” JA302

                                             27
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 37 of 47




        (¶ 11), “mak[ing] it impossible for GenBioPro to promote and market its

        product in West Virginia as it does in other states,” JA322 (¶ 77), and

        “caus[ing] significant, ongoing economic injury to GenBioPro in the

        form of lost sales, customers, and revenue,” JA322 (¶¶ 78-79).

              The district court was right to find “nothing ‘conjectural or

        hypothetical’ about GenBioPro’s affirmations that it would be selling its

        product to a wider market in West Virginia were it not for the UCPA.”

        JA105. These “lost business opportunities” and “the operation of a

        challenged statute that results in the constriction of a vendor’s buyers’

        market plainly inflict[] an injury in fact.” Maryland Shall Issue,

        971 F.3d at 211 (cleaned up).

              Appellees misstate the law and draw inferences against

        GenBioPro. They argue (at 20) that GenBioPro did not allege past sales

        in West Virginia. But the court rightly noted — and Appellees nowhere

        acknowledge — that economic injury suffices even if “plaintiffs were not

        already operating in the targeted market.” JA104 (citing Ezell v. City of

        Chi., 651 F.3d 684, 692, 696 (7th Cir. 2011), and 303 Creative LLC v.

        Elenis, 6 F.4th 1160, 1172 (10th Cir. 2021)). Lost future sales are

        enough for standing. Indeed, GenBioPro intends to sell mifepristone in



                                             28
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 38 of 47




        West Virginia in the future; that is why it brought this case. JA321-323

        (¶¶ 76-80).

              Even if past sales were required, GenBioPro alleged them. West

        Virginia’s laws have cost the company “sales, customers, and revenue.”

        JA322 (¶ 79), and GenBioPro’s “only revenue producing products are

        medication abortion drugs,” JA105. The only plausible inference is that

        the company has sold mifepristone in West Virginia.16

              Appellees incorrectly claim (at 20-21) that GenBioPro’s failure to

        allege it certified healthcare providers and pharmacies to prescribe and

        dispense mifepristone in West Virginia is relevant to standing.17 But

        GenBioPro alleged that providers and pharmacies would prescribe and

        dispense mifepristone were it not for the UCPA. JA323 (¶ 80).

        GenBioPro will certify them when the UCPA is enjoined as

        unconstitutional — standing does not require the company to certify

        providers to prescribe a drug they are banned from selling.




              16 At a hearing, GenBioPro’s counsel represented that “there have

        been past sales by GenBioPro of mifepristone in West Virginia.” JA127.
              17 See 2023 Mifepristone REMS, supra note 1, at 6-9, 11-13.



                                            29
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 39 of 47




              Appellees suggest (at 21 & n.15) GenBioPro needed a

        manufacturer’s license from West Virginia’s Board of Pharmacy. But

        State rules require such licensing only for “manufacturing of

        prescription drugs in this state,” W. Va. Code § 15-5-3.2, and

        GenBioPro’s mifepristone is manufactured elsewhere.

                   2.    GenBioPro plausibly alleged a credible threat of
                         prosecution

              A plaintiff independently pleads injury if it alleges “an intention

        to engage in a course of conduct arguably affected with a constitutional

        interest, but proscribed by a statute, and there exists a credible threat

        of prosecution thereunder.” Susan B. Anthony, 573 U.S. at 159.

              GenBioPro’s intended sales raise a constitutional interest because

        West Virginia’s restrictions violate the Supremacy Clause. See supra

        pp. 3-27. Unrebutted allegations show the threat of prosecution is

        credible. Appellee Morrisey, West Virginia’s Attorney General, “has

        responsibility for enforcing the laws of West Virginia” and intends to

        enforce the UCPA “notwithstanding FDA’s determinations pursuant to

        its congressional mandate.” JA305-306 (¶ 25). Appellee Raynes,

        Putnam County’s Prosecuting Attorney, “has authority to prosecute

        violations of the [UCPA] and other criminal restrictions on abortion in


                                             30
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 40 of 47




        Putnam County,” and has said that “[a]s prosecutors we have a clear

        obligation to enforce the laws of our state,” including against “medical

        provider[s]” providing abortion services. JA305 (¶ 24); see supra pp. 14-

        15.

              Appellees argue (at 21-22) that the UCPA does not prohibit

        GenBioPro’s sales because mifepristone may be used off-label or in the

        law’s few “exceptions,” such as incest. But FDA approved GenBioPro’s

        mifepristone only for abortion, no matter the cause of pregnancy.

        JA314 (¶ 58). West Virginia forbids providing mifepristone for that

        purpose. See supra pp. 9-10. GenBioPro’s exposure to prosecution and

        the credible threats of enforcement confer standing.18

                   3.    GenBioPro plausibly alleged third-party
                         standing

              GenBioPro has standing on behalf of the healthcare providers and

        pharmacies that would prescribe and dispense mifepristone but for

        West Virginia’s restrictions. “[A] vendor has a sufficiently close


              18 Appellees do not dispute that GenBioPro’s injury is fairly

        traceable to the UCPA and redressable with the requested relief.
        Declaring the UCPA unconstitutional and enjoining its enforcement will
        lift the restrictions that constrain GenBioPro from providing its product
        in West Virginia and harm it economically, redressing GenBioPro’s
        injury. See Maryland Shall Issue, 971 F.3d at 213.

                                             31
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 41 of 47




        relationship with its customers” to challenge a law on their behalf

        “when a challenged statute prevents that entity from transacting

        business with them.” Maryland Shall Issue, 971 F.3d at 216. As the

        district court held, “GenBioPro may assert the third-party rights” of its

        vendees — healthcare providers and pharmacies — “who seek access to

        its market but are prevented by the UCPA from transacting business

        with GenBioPro.” JA114. Appellees’ only counterargument (at 22-23),

        that GenBioPro may not assert third-party standing because it lacks

        first-party standing, fails for the reasons discussed above.

                   Appellees Forfeited Their Cause-Of-Action Defense,
                   Which Lacks Merit

                   1.    Appellees forfeited any cause-of-action defense

              Appellees forfeited their argument (at 23-26) that GenBioPro has

        no cause of action to challenge West Virginia’s laws because Appellees

        failed to raise it below. Whether a plaintiff has a cause of action “is not

        a question of jurisdiction,” and is subject to forfeiture. Air Courier Conf.

        of Am. v. American Postal Workers Union, AFL-CIO, 498 U.S. 517, 523

        n.3 (1991). A party forfeits a cause-of-action defense by failing to raise

        it first in the district court. See Remy Holdings Int’l, LLC v. Fisher

        Auto Parts, Inc., 90 F.4th 217, 231 n.11 (4th Cir. 2024). Thus, in Hicks


                                             32
USCA4 Appeal: 23-2194    Doc: 88      Filed: 05/20/2024   Pg: 42 of 47




        v. Ferreyra, 965 F.3d 302, 309-10 (4th Cir. 2020), this Court found

        forfeiture because the defendants did not “argue or even suggest that

        [plaintiff] lacked a cause of action” in district court.

              The Court should hold Appellees to their forfeiture. They cite

        cases (at 25-26) to the effect that the Court may affirm for any reason

        apparent in the record, but none supports the argument that a court

        should consider a forfeited argument. Courts consider an argument for

        the first time on appeal only in “exceptional circumstances,” Williams v.

        Kincaid, 45 F.4th 759, 776 (4th Cir. 2022), in which “the newly raised

        argument establishes ‘fundamental error’ or a denial of fundamental

        justice,” Hicks, 965 F.3d at 310.

              This case presents no such circumstances. Appellees do not argue

        fundamental error or that it would deny fundamental justice to decline

        to address their belated cause-of-action defense. So they have

        abandoned the opportunity to have this new argument considered on

        appeal. See In re Under Seal, 749 F.3d 276, 292 (4th Cir. 2014).

                    2.    Ex parte Young provides a cause of action in
                          equity

              Even if the Court were to reach the issue, GenBioPro has an

        equitable cause of action under Ex parte Young, 209 U.S. 123 (1908),


                                              33
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 43 of 47




        which empowers the company “to petition a federal court to enjoin State

        officials . . . from engaging in future conduct that would violate the

        Constitution.” Antrican v. Odom, 290 F.3d 178, 184 (4th Cir. 2002). A

        plaintiff bringing such an action must allege “an ongoing violation of

        federal law” and seek “prospective” relief. Franks v. Ross, 313 F.3d 184,

        197 (4th Cir. 2002) (quoting Verizon Md. Inc. v. Public Serv. Comm’n,

        535 U.S. 635, 645 (2002)). Plaintiffs plead a valid cause of action by

        alleging that a state official would violate the Supremacy Clause by

        enforcing a preempted state law. See, e.g., United States v. South

        Carolina, 720 F.3d 518, 525-26 (4th Cir. 2013).

              GenBioPro seeks prospective relief against state officials with the

        power and intent to enforce West Virginia’s unconstitutional laws. See

        JA305-306, JA326-331. GenBioPro plausibly alleged — and Appellees

        do not contest — a credible threat that these officials will enforce those

        unconstitutional restrictions on access to mifepristone. Supra pp. 30-

        31. GenBioPro has a cause of action to enjoin that enforcement.

              Appellees rely on Armstrong v. Exceptional Child Center, Inc.,

        575 U.S. 320, 326 (2015), to argue that equity does not provide a basis

        for this lawsuit. Opp. 23-24. Armstrong says the opposite: while there



                                             34
USCA4 Appeal: 23-2194   Doc: 88     Filed: 05/20/2024   Pg: 44 of 47




        is no “implied right of action contained in the Supremacy Clause,”

        equity confers a right “to sue to enjoin unconstitutional actions by state

        and federal officers.” 575 U.S. at 327.

              Appellees’ reference (at 24-25) to a bar on private FDCA

        “enforcement suits” is irrelevant; this is not an enforcement suit.

        GenBioPro alleges that “federal law immunizes [it] from state

        regulation” — Appellees’ unconstitutional enforcement of West

        Virginia’s laws. Armstrong, 575 U.S. at 326. GenBioPro has a valid

        cause of action in equity, and “the court may issue an injunction upon

        finding the state regulatory actions preempted.” Id.

                                     CONCLUSION

              The district court’s judgment should be reversed.




                                            35
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024   Pg: 45 of 47




            May 20, 2024                            Respectfully submitted,

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                                             36
USCA4 Appeal: 23-2194         Doc: 88           Filed: 05/20/2024     Pg: 46 of 47


                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


           23-2194
      No. ____________                  GenBioPro, Inc. v. Kristina Raynes et al.
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      (s) David C. Frederick

      Party Name GenBioPro, Inc.

      Dated: May 20, 2024

                                                                                                04/12/2020 SCC
USCA4 Appeal: 23-2194   Doc: 88      Filed: 05/20/2024     Pg: 47 of 47




                             CERTIFICATE OF SERVICE

              I hereby certify that, on May 20, 2024, I electronically filed the

        foregoing Reply Brief for Plaintiff-Appellant GenBioPro, Inc., with the

        Clerk of the Court for the United States Court of Appeals for the Fourth

        Circuit using the appellate CM/ECF system.

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                                                         /s/ David C. Frederick
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